     Case 2:12-cv-03108-TOR    ECF No. 117      filed 10/03/14   PageID.2953 Page 1 of 26




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27                          UNITED STATES DISTRICT COURT
28                         EASTERN DISTRICT OF WASHINGTON
29
30      ROGELIO MONTES and MATEO
31      ARTEAGA,                                    NO. 12-CV-3108 TOR
32
33                        Plaintiffs,               MOTION FOR ENTRY OF
34                                                  PLAINTIFFS’ PROPOSED
35             v.                                   REMEDIAL PLAN AND FINAL
36      CITY OF YAKIMA, MICAH                       INJUNCTION
37
38
        CAWLEY, in his official capacity as
39      Mayor of Yakima, and MAUREEN
40      ADKISON, SARA BRISTOL,
41      KATHY COFFEY, RICK ENSEY,
42      DAVE ETTL, and BILL LOVER, in
43      their official capacity as members of
44
45
        the Yakima City Council,
46                           Defendants.
47


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     Case 2:12-cv-03108-TOR               ECF No. 117            filed 10/03/14          PageID.2954 Page 2 of 26




 1                                                TABLE OF CONTENTS
 2
 3
 4
 5      I.      INTRODUCTION .......................................................................................... 1
 6
 7      II.     PROCEDURAL BACKGROUND ................................................................ 2
 8
 9
        III.    ARGUMENT ................................................................................................. 2
10              A.         The Court Should Reject Defendants’
11
12                         Proposed Remedial Plan ...................................................................... 4
13
14
                                    1.        Defendants’ Proposal for Two At-Large
15                                            Positions Violates Both Washington Law and
16                                            the VRA ........................................................................... 5
17
18                                  2.        Defendants’ Modifications to the Previous At-
19
20
                                              Large Election System Do Not Cure the
21                                            Problem............................................................................ 8
22
23                                  3.        Defendants’ Five-District Proposal Dilutes
24                                            Latino Voting Strength .................................................. 11
25
26              B.         The Court Should Adopt Plaintiffs’ Illustrative
27                         Plan 1 .................................................................................................. 15
28
29              C.         The Court Should Immediately Implement the
30                         Remedial Map .................................................................................... 17
31
32      IV.     CONCLUSION ............................................................................................ 19
33
34
35
36
37
38
39
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43
44
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     Case 2:12-cv-03108-TOR             ECF No. 117         filed 10/03/14        PageID.2955 Page 3 of 26




 1
 2                                        TABLE OF AUTHORITIES
 3
 4                                                                                                          Page(s)
 5      CASES
 6
 7
 8      Buchanan v. City of Jackson, Tenn.,
 9        683 F. Supp. 1537 (W.D. Tenn. 1988) ................................................... 3, 6, 8
10
11      Citizens for Good Gov’t v. City of Quitman, Miss.,
12
13         148 F.3d 472 (5th Cir. 1998) ........................................................................ 14
14
15      Clark v. Roemer,
16         777 F. Supp. 471 (M.D. La. 1991) ............................................................... 16
17
18
19      Connor v. Finch,
20        431 U.S. 407 (1977) ..................................................................................... 14
21
22      Corder v. Kirksey,
23
24        639 F.2d 1191 (5th Cir. 1981) ...................................................................... 14
25
26      Desena v. Maine,
27        793 F. Supp. 2d 456 (D. Me. 2011) .............................................................. 16
28
29
30      Dickinson v. Ind. State Election Bd.,
31         933 F.2d 497 (7th Cir. 1991) ........................................................................ 11
32
33      Dillard v. Crenshaw Cnty., Ala.,
34
35         649 F. Supp. 289 (M.D. Ala. 1986) ..................................................2, 7, 8, 15
36
37      Dillard v. Crenshaw Cnty., Ala.,
38
39
           831 F.2d 246 (11th Cir. 1987) ........................................................................ 2
40
41      Harvell v. Blytheville Sch. Dist. No. 5,
42        126 F.3d 1038 (8th Cir. 1997) ..............................................................3, 6, 15
43
44
45
        Johnson v. DeGrandy,
46         512 U.S. 997 (1994) ..................................................................................... 12
47


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     Case 2:12-cv-03108-TOR              ECF No. 117          filed 10/03/14        PageID.2956 Page 4 of 26




 1      Large v. Fremont Cnty., Wyo.,
 2
 3
           670 F.3d 1133 (10th Cir. 2012) ................................................................5, 15
 4
 5      LULAC Council No. 4836 v. Midland Indep. Sch. Dist.,
 6        648 F. Supp. 596 (W.D. Tex. 1986) .........................................................7, 16
 7
 8
 9
        Mahan v. Howell,
10        410 U.S. 315 (1973) ..................................................................................... 14
11
12      Neal v. Harris,
13
14
          837 F.2d 632 (4th Cir. 1987) ........................................................................ 16
15
16      United States v. Dallas County Comm’n,
17        850 F.2d 1433 (11th Cir. 1988) ................................................................7, 15
18
19
20
        United States v. Osceola Cnty., Fla.,
21        474 F. Supp. 2d 1254 (M.D. Fla. 2006) .............................................7, 12, 15
22
23      United States v. Paradise,
24
25
          480 U.S. 149 (1987) ....................................................................................... 3
26
27      Upham v. Seamon,
28        456 U.S. 37 (1982) ......................................................................................... 3
29
30
31
        Wallace v. House,
32        377 F. Supp. 1192 (W.D. La. 1974) ............................................................. 16
33
34      Wise v. Lipscomb,
35
36        437 U.S. 535 (1978) .................................................................................3, 14
37
38      STATUTES
39
40      42 U.S.C. § 1973(b) ...................................................................................1, 4, 12
41
42
43      RCW 35.18.020(2) ............................................................................................. 17
44
45      RCW 35.18.190 ................................................................................................... 5
46
47


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     Case 2:12-cv-03108-TOR              ECF No. 117          filed 10/03/14        PageID.2957 Page 5 of 26




 1      RCW 35.18.210 ................................................................................................... 5
 2
 3
 4
        RCW 35A.02.050 .............................................................................................. 18
 5
 6      RCW 35A.13.033 ................................................................................................ 5
 7
 8      Voting Rights Act, 42 U.S.C. § 1973(b) ....................................................passim
 9
10
11
        OTHER AUTHORITIES
12
13      1982 U.S.C.C.A.N. 177 ....................................................................................... 2
14
15      Mike Faulk, Yakima, ACLU voting district plans remain far apart,
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20
21
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     Case 2:12-cv-03108-TOR      ECF No. 117     filed 10/03/14   PageID.2958 Page 6 of 26




 1
 2                                   I.     INTRODUCTION
 3
 4              The Court’s Summary Judgment Order definitively found that City
 5
 6      Council elections in Yakima “are not ‘equally open to participation’ by Latino
 7
 8      voters,” in violation of Section 2 of the Voting Rights Act (“VRA”). ECF
 9
10      No. 108 (“Op.”) at 65 (quoting 42 U.S.C. § 1973(b)). The Court’s remedy for
11
12      the violation should be no less definitive—to fully and completely stamp out
13
14      minority vote dilution in Yakima and provide Latinos an effective opportunity
15
16      to elect their candidates of choice, now and in the future.
17
18              Defendants’ proposed remedy falls woefully short of this standard. To
19
20      be sure, courts often defer to local legislative bodies to remedy a Section 2
21
22      violation, but a legislature does not have carte blanche, and whatever remedy is
23
24      ultimately adopted must, at a minimum, provide a complete remedy for the
25
26      violation. A defendant’s proposed remedial plan merits no deference where it
27
28      conflicts with state and federal law. Defendants’ plan does both. Not only
29
30      does it contravene Washington law in its proposed election scheme for Mayor
31
32      and Assistant Mayor, it perpetuates the Section 2 violation by maintaining two
33
34      at-large positions and creating only five rather than seven single-member
35
36      districts. Plaintiffs’ Illustrative Plan 1, by contrast, is familiar to the parties and
37
38      the Court, abides by the strict rules governing court-ordered plans, and, most
39
40      importantly, provides a full and fair remedy to the City’s Section 2 violation.
41
42              Accordingly, Plaintiffs respectfully request that the Court reject
43
44      Defendants’ proposal and adopt Plaintiffs’ proposed remedy and injunction.
45
46
47


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     Case 2:12-cv-03108-TOR      ECF No. 117    filed 10/03/14   PageID.2959 Page 7 of 26




 1                         II.    PROCEDURAL BACKGROUND
 2
 3              On August 22, 2014, the Court granted Plaintiffs’ Motion for Summary
 4
 5      Judgment and ordered the parties to meet and confer in an effort to agree upon
 6
 7      a joint proposed injunction and a joint proposed remedial districting plan. Op.
 8
 9      at 66-67. The Court further ordered that in the event the parties are unable to
10
11      agree on the terms of an injunction or remedial districting plan, they may
12
13      submit separate proposals. Id. at 66.
14
15              On September 11, 2014, the parties discussed the broad contours of their
16
17      proposals over the telephone. Declaration of Abha Khanna in Support of. Mot.
18
19      for Entry of Pls.’ Proposed Remedial Plan and Final Injunction (Oct. 3, 2014)
20
21      (“Khanna Decl.”) ¶ 1. On September 23, Defendants provided their proposed
22
23      remedial plan to Plaintiffs, and Plaintiffs informed Defendants that they intend
24
25      to propose Mr. Cooper’s Illustrative Plan 1 as a remedy. Id. ¶ 2. The parties
26
27      conferred in-person two days later, but they were unable to agree on the terms
28
29      of a proposed remedial plan or injunction. Accordingly, the parties agreed to
30
31      submit separate proposals to the Court. Id. ¶ 3.
32
33                                    III. ARGUMENT
34
35
                Where a Section 2 violation has been established, “‘[t]he court should
36
37
        exercise its traditional equitable powers to fashion the relief so that it
38      completely remedies the prior dilution of minority voting strength and fully
39
40      provides equal opportunity for minority citizens to participate and to elect
41
42      candidates of their choice.’” Dillard v. Crenshaw Cnty., Ala., 831 F.2d 246,
43
44      250 (11th Cir. 1987) (quoting 1982 U.S.C.C.A.N. 177, 208); see also Dillard v.
45
46      Crenshaw Cnty., Ala., 649 F. Supp. 289, 293 (M.D. Ala. 1986) (“Without
47


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     Case 2:12-cv-03108-TOR          ECF No. 117    filed 10/03/14   PageID.2960 Page 8 of 26




 1      question, the remedy fashioned by a court should reach the nature and scope of
 2
 3      the violation found.”) (citing Upham v. Seamon, 456 U.S. 37 (1982)). As the
 4
 5      Supreme Court has stated:
 6
 7                         A district court has not merely the power but the duty
 8
 9
                           to render a decree which will so far as possible
10                         eliminate the discriminatory effects of the past as
11                         well as bar like discrimination in the future. Once a
12
13
                           right and a violation have been shown, the scope of a
14                         district court’s equitable powers to remedy past
15                         wrongs is broad, for breadth and flexibility are
16
17
                           inherent in equitable remedies.
18      United States v. Paradise, 480 U.S. 149, 183-84 (1987) (internal quotation
19
20      marks and citations omitted), quoted in Buchanan v. City of Jackson, Tenn.,
21
22      683 F. Supp. 1537, 1541 (W.D. Tenn. 1988).
23
24              Thus, the Court’s primary function is to fashion an effective remedy. In
25
26      doing this, courts should “afford a reasonable opportunity for the legislature to
27
28      meet constitutional requirements by adopting a substitute measure.” Wise v.
29
30      Lipscomb, 437 U.S. 535, 540 (1978). But courts must not “defer blindly to
31
32      legislative prerogative” in deciding whether a legislature’s proposed plan is
33
34      acceptable under the VRA. Buchanan, 683 F. Supp. at 1541. Specifically,
35
36      “[t]he district court need not defer to a state-proposed remedial plan . . . if the
37
38      plan does not completely remedy the violation or if the plan itself violates
39
40      section 2 of the Act.” Harvell v. Blytheville Sch. Dist. No. 5, 126 F.3d 1038,
41
42      1040 (8th Cir. 1997).
43
44              Defendants’ proposal here not only fails to fully cure the Section 2
45
46      violation, it perpetuates it. Given Defendants’ failure to devise an effective
47


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     Case 2:12-cv-03108-TOR     ECF No. 117    filed 10/03/14   PageID.2961 Page 9 of 26




 1      legal remedy, the Court should adopt Plaintiffs’ Illustrative Plan 1, which fully
 2
 3      addresses the Section 2 violation found by the Court and provides Latinos a
 4
 5      full and fair opportunity to participate in the political process in Yakima.
 6
 7      A.      The Court Should Reject Defendants’ Proposed Remedial Plan.
 8
 9              The current City of Yakima election system employs a hybrid at-large
10
11      system, in which four City Council members are nominated from residency
12
13      districts, three are nominated citywide, and all are ultimately elected at-large.
14
15      The Court struck down that system as a violation of Section 2, noting that
16
17      pervasive racially polarized voting has resulted in the “non-Latino majority in
18
19      Yakima routinely suffocat[ing] the voting preferences of the Latino
20
21      community.” Op. at 48. Compounded by the “depressed socio-economic
22
23      conditions” of Latinos, evidence of historical discrimination, and the reality
24
25      that not a single Latino candidate has been elected to the City Council “in the
26
27      37 years that the current voting system has been in place,” id. at 53, 62-63, the
28
29      Court found that Yakima’s electoral system is “not ‘equally open to
30
31      participation’ by Latino voters,” id. at 65 (quoting 42 U.S.C. § 1973(b)).
32
33              Defendants’ proposed remedial plan would simply substitute the City’s
34
35      current hybrid at-large system with a new hybrid at-large system. Defendants
36
37      propose a plan which would create five single-member districts and maintain
38
39      two at-large City Council seats. Moreover, according to Defendants’ proposal,
40
41      the two at-large members will be automatically designated the Mayor and
42
43      Assistant Mayor—the two highest-ranking elected City officials.
44
45
46
47


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     Case 2:12-cv-03108-TOR        ECF No. 117   filed 10/03/14   PageID.2962 Page 10 of 26




 1              This electoral scheme is fundamentally at odds with this Court’s
 2
 3      Summary Judgment Order, Section 2 of the VRA, and Washington law. The
 4
 5      Court should accordingly reject Defendants’ proposal.
 6
 7              1.         Defendants’ Proposal for Two At-Large Positions Violates
 8
 9                         Both Washington Law and the VRA.
10
11
                As an initial matter, Defendants’ proposal merits no deference from this
12
13
        Court because it conflicts with state law. In a council-manager system such as
14
15
        that used by the City, Washington law does not permit the election of a city’s
16
17
        mayor by a vote of city residents, at-large or otherwise. Rather, in a council-
18
19
        manager system, city council members “shall choose a chair from among their
20
21
        number who shall have the title of mayor.” RCW 35.18.190. The same goes
22
23
        for a “mayor pro tempore.” RCW 35.18.210.1 Defendants’ failure to propose
24
25
        a remedy that complies with state law eliminates any claim to deference to
26
27
        which their proposal might have been entitled. See Large v. Fremont Cnty.,
28
29
        Wyo., 670 F.3d 1133, 1148 (10th Cir. 2012) (“[W]here a local governmental
30
31
        body’s proposed remedial plan for an adjudged Section 2 violation
32
33
        unnecessarily conflicts with state law, it is not a legislative plan entitled to
34
35
        deference by the federal courts.”). As a result, Defendants’ proposed plan is
36
37
        not a lawful exercise of legislative power, and the Court should implement a
38
39
        court-ordered remedy. Id. at 1139.
40
41
42
43
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        1
45          If Defendants wish to change the system by which the Mayor is elected, they
46
47      must place a proposition before the voters of the city. RCW 35A.13.033.

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 1              In any event, even if Defendants’ proposal did comport with state law,
 2
 3      the Court should reject it because it does not fully remedy the Section 2
 4
 5      violation. Defendants’ insistence on maintaining two at-large seats preserves
 6
 7      the very minority vote dilution that requires remediation. Where, as here,
 8
 9      “there can be no serious dispute that voting in Yakima is racially polarized,”
10
11      Op. at 54, the creation of a system in which two out of seven elected officials
12
13      are elected citywide strongly suggests that those seats will be off limits to
14
15      Latino voters. The racialized voting patterns the Court observed just six weeks
16
17      ago have not magically disappeared; rather, the state of affairs described in the
18
19      Court’s Summary Judgment Order mandates a remedy that eliminates at-large
20
21      elections that “routinely suffocate[] the voting preferences of the Latino
22
23      minority.” Op. at 48.
24
25              Courts routinely reject hybrid plans as remedies for voting rights
26
27      violations, even where such plans contain one or more majority-minority
28
29      districts. In Buchanan, 683 F. Supp. 1537, after finding that at-large elections
30
31      for the city commission violated Section 2, the court rejected defendants’
32
33      proposed 6-3 hybrid plan (6 single-member districts and 3 at-large seats). With
34
35      regard to the at-large seats, the court concluded that “racially polarized voting
36
37      would still take place,” and minority “candidates would face the same
38
39      difficulties in being elected as under the current system.” Id. at 1543, 1544;
40
41      see also id. at 1545 (“The plan proposed by the defendants to remedy the
42
43      present § 2 violation is itself violative of § 2 of the [VRA].”).
44
45              Similarly, in Harvell, 126 F.3d at 1040, the Eighth Circuit affirmed the
46
47      district court’s rejection of the 5-2 plan proposed by a school district as a

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     Case 2:12-cv-03108-TOR     ECF No. 117     filed 10/03/14   PageID.2964 Page 12 of 26




 1      remedy for a Section 2 violation because “[t]he inability of black voters to
 2
 3      affect the at-large elections under the 5-2 plan is no different from what it was
 4
 5      under the previous electoral scheme.” In United States v. Dallas County
 6
 7      Commission, 850 F.2d 1433, 1438-39 (11th Cir. 1988), the Eleventh Circuit
 8
 9      rejected a 4-1 hybrid plan because “many of the concerns which prompted” the
10
11      finding of a Section 2 violation four years earlier “continue to exist.” The
12
13      court found that at-large election of the fifth member of the school board
14
15      “perpetuates rather than ameliorates the inequities which have resulted in an
16
17      abridgement of Dallas County’s black citizens’ access to the political process.”
18
19      Id. at 1440. Other courts are in accord. See, e.g., United States v. Osceola
20
21      Cnty., Fla., 474 F. Supp. 2d 1254, 1256 (M.D. Fla. 2006) (“Hispanics in
22
23      Osceola County have no reasonable opportunity to elect members in an at-large
24
25      election. Therefore, given the high degree of historically polarized voting, the
26
27      extra two at large seats are completely out of the reach of the Hispanic
28
29      community.”); LULAC Council No. 4836 v. Midland Indep. Sch. Dist., 648 F.
30
31      Supp. 596, 609 (W.D. Tex. 1986) (“[A]ny at-large election in MISD violates
32
33      the provisions of . . . the [VRA].”).
34
35              Worse still, Defendants would reserve for the at-large councilmembers
36
37      the most powerful elected positions in the City: Mayor and Assistant Mayor.
38
39      This system not only fails as a matter of law, it fails as a matter of principle:
40
41      Defendants’ attempt to cabin Latino voting strength to a single district, while
42
43      preserving an at-large system for the highest offices in the City, hardly reflects
44
45      a concerted effort to rectify the Section 2 violation under which Latino voters
46
47      have long suffered. Courts have rejected similar proposals. In Dillard, 649 F.

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     Case 2:12-cv-03108-TOR        ECF No. 117   filed 10/03/14   PageID.2965 Page 13 of 26




 1      Supp. at 296, the district court rejected a hybrid plan in which a commission
 2
 3      chairperson would be elected at-large: “An at-large elected member would
 4
 5      increase the voting membership of the county commission, would participate
 6
 7      as a member of the commission, and would exercise enhanced powers enjoyed
 8
 9      by no other member of the commission. To that extent, the members elected
10
11      by a racially fair district election method would have their voting strength and
12
13      influence diluted.” The court found that to adopt the at-large chairperson
14
15      feature “in the face of the present social, political, and economic condition”
16
17      would in effect authorize an election system “containing a public office
18
19      completely beyond the reach of the counties’ black citizens and thus reserved
20
21      exclusively for the white citizens,” an “intolerable [result] under section 2”
22
23      where alternative electoral schemes are available. Id. at 297; see also
24
25      Buchanan, 683 F. Supp. at 1542-43 (striking down a proposed remedy where
26
27      “the most important members of the Board, the Administrative Commissioners,
28
29      would still be elected at-large by the entire City”).
30
31              In sum, because Defendants’ plan disregards state law, it comes cloaked
32
33      with no political legitimacy and merits no deference. Regardless, Defendants’
34
35      proposal that the two highest offices in the City be elected at-large fails to
36
37      provide a complete remedy to the Section 2 violation—it perpetuates the
38
39      violation. Accordingly, the Court should reject Defendants’ proposal.
40
41              2.         Defendants’ Modifications to the Previous At-Large Election
42
43                         System Do Not Cure the Problem.
44
45
                To be sure, Defendants no longer propose at-large elections that turn on
46
47
        the “place system,” in which candidates run for a specific position on the City


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     Case 2:12-cv-03108-TOR    ECF No. 117    filed 10/03/14   PageID.2966 Page 14 of 26




 1      Council in a top-two contest. Instead, Defendants’ proposal envisions that the
 2
 3      two at-large positions will be elected from a single ballot with two winners,
 4
 5      neither of whom are required to receive a majority of the votes. But while this
 6
 7      is an improvement on the existing system, it does not fully address the barriers
 8
 9      Latinos face in at-large, citywide elections.
10
11              As Dr. Engstrom explains, the opportunity provided to minority voters in
12
13      at-large systems such as the one proposed by Defendants is commonly
14
15      measured by the “threshold of exclusion,” or the percentage of voters the
16
17      minority group must exceed in order to elect its candidate of choice regardless
18
19      of how the majority votes. Khanna Decl., Ex. 2 ¶ 5. This threshold is based on
20
21      a number of theoretical assumptions, including that every eligible Latino voter
22
23      turns out on Election Day and casts a vote for the same candidate, and that the
24
25      non-Latino voters spread their votes evenly across two other candidates. See
26
27      id. Minority voting opportunities increase the more limited each person’s vote
28
29      is compared to the number of seats to be elected. Id. ¶ 4; see also Op. at 58
30
31      (“[T]he fewer the number of candidates, the more difficult it becomes for the
32
33      minority’s chosen candidate to win the race outright.”).
34
35              Under Defendants’ proposed system, the threshold of exclusion is
36
37      33.33%. Khanna Decl., Ex. 2 ¶ 7. In other words, making the theoretical
38
39      assumptions outlined above, Latinos must comprise 33.33% of the electorate in
40
41      order for their preferred candidate to win an at-large seat without the support of
42
43      non-Latino voters. Where the LCVAP of the entire city falls well below that
44
45      threshold, and not accounting for the historic low turnout rates of Latinos in at-
46
47      large elections, see Op. at 59, Defendants’ creative attempt to maintain the at-

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     Case 2:12-cv-03108-TOR     ECF No. 117   filed 10/03/14   PageID.2967 Page 15 of 26




 1      large election system does not offer a complete remedy to the minority vote
 2
 3      dilution in Yakima.
 4
 5              Defendants’ modifications to the current at-large system, moreover, do
 6
 7      not address the barriers Latinos face running for at-large positions in terms of
 8
 9      money and resources. See Op. at 62 (“[I]t can hardly be disputed that
10
11      depressed socio-economic conditions have at least some detrimental effect on
12
13      participation in the political process.”); Thornburg v. Gingles, 478 U.S. 30, 69-
14
15      70 (1986) (“Courts and commentators have recognized . . . that candidates
16
17      generally must spend more money in order to win election in a multimember
18
19      district than in a single-member district.”). Single-member districts are the
20
21      preferred remedy under Section 2 because of the benefits that smaller districts
22
23      afford minority communities. See Buchanan, 683 F. Supp. at 1542 (“These six
24
25      small districts would be advantageous to black candidates because the expense
26
27      of mounting a campaign throughout a large area would be decreased.”).
28
29              In sum, Defendants’ at-large proposal requires a host of assumptions to
30
31      conclude that Latinos might have a shot at attaining one of the seats. Indeed,
32
33      this scheme appears untested in Washington, see Mike Faulk, Yakima, ACLU
34
35      voting district plans remain far apart, Yakima Herald Republic, Oct. 1, 2014,
36
37      available at http://www.yakimaherald.com/home/2540870-8/yakima-aclu-
38
39      voting-district-plans-remain-far-apart (Defendants stating “no other city in the
40
41      state has such a system”), indicating that adoption of the plan would be in
42
43      tension with state policy governing local election systems, and at best that it
44
45
46
47


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     Case 2:12-cv-03108-TOR        ECF No. 117   filed 10/03/14   PageID.2968 Page 16 of 26




 1      would prove an experiment in minority vote dilution.2 Unlike Defendants’ at-
 2
 3      large proposal, a single-member district plan requires no guessing games to
 4
 5      determine whether Latinos in Yakima will have an effective opportunity to
 6
 7      participate in the political process.
 8
 9               3.        Defendants’ Five-District Proposal Dilutes Latino Voting
10
11                         Strength.
12
13
                 Finally, Defendants’ proposal that the City be divided into five rather
14
15
        than seven districts further dilutes Latino voting strength, as it deprives Latinos
16
17
        of an additional opportunity district.
18
19
                 Plaintiffs’ Illustrative Plan 1 demonstrates that a seven-district plan
20
21
        allows Latinos to have effective voter majorities in not one, but two districts.
22
23
        As discussed in Plaintiffs’ Summary Judgment Motion, ECF No. 64 at 13-14,
24
25
        both Districts 1 and 2 in Illustrative Plan 1 include Latino registered voter
26
27
        majorities. See also Khanna Decl., Ex. 1. Courts routinely look to the
28
29
        registered voter population in ordering remedial plans. See, e.g., Dickinson v.
30
31
        Ind. State Election Bd., 933 F.2d 497, 503 (7th Cir. 1991) (“The court may
32
33
        consider, at the remedial stage, what type of remedy is possible based on the
34
35
        factors traditionally examined in single-member districts, such as minority
36
37
38
        2
39          Plaintiffs are aware of no jurisdiction in Washington that employs a limited
40
41      voting system for the deciding election, as Defendants propose here. Yakima’s
42
43      existing election scheme uses a primary system under which the top two
44
45      candidates for specific positions advance to the general election, but the
46
47      deciding election is then a head-to-head matchup between two candidates.

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     Case 2:12-cv-03108-TOR     ECF No. 117    filed 10/03/14   PageID.2969 Page 17 of 26




 1      voter registration and turn-out rates.”); see also ECF No. 66-1 at 73 (Dr. Alford
 2
 3      testifying that “a registered voter majority is probably a better indicator of
 4
 5      having a majority district than is the CVAP number”).
 6
 7              Defendants’ five-district proposal, however, does not include a second
 8
 9      district in which Latinos would have a fair opportunity to elect their candidates
10
11      of choice. Creating five larger districts requires inclusion of a greater number
12
13      of Latino voters in District 1 to create a majority-minority district, thereby
14
15      diluting Latino voting strength in surrounding areas. As a result, while
16
17      Plaintiffs’ District 2 includes an LCVAP of 46.31%, Defendants’ District 5 has
18
19      an LCVAP of only 34.84%. Khanna Decl., Ex. 3 (Third Supplemental Cooper
20
21      Report) ¶ 10. More telling, while Latinos comprise a 53.35% majority of
22
23      registered voters in Plaintiffs’ District 2, they comprise a mere 32.98% of
24
25      registered voters in Defendants’ District 5. Id. ¶ 11. Thus, while Plaintiffs’
26
27      plan provides an opportunity for Latinos to elect their candidates of choice in
28
29      two out of seven districts, Defendants’ plan “would likely limit Latinos to a
30
31      single seat on the Yakima City Council for many years to come.” Id. ¶ 13.
32
33              Indeed, Defendants’ failure to provide Latino opportunity districts in
34
35      proportion to the Latino eligible voter population further evinces why their
36
37      plan does not pass muster under Section 2. While Section 2 does not
38
39      “establish[] a right to have members of a protected class elected in numbers
40
41      equal to their proportion in the population,” 42 U.S.C. § 1973(b), the Supreme
42
43      Court has held that “proportionality” in the relationship between “the number
44
45      of majority-minority voting districts” and “minority members’ share of the
46
47      relevant population” is relevant to a Section 2 analysis. Johnson v. DeGrandy,

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     Case 2:12-cv-03108-TOR     ECF No. 117   filed 10/03/14   PageID.2970 Page 18 of 26




 1      512 U.S. 997, 1014 n.11 (1994); see also id. at 1000 (noting proportionality as
 2
 3      relevant to the totality of circumstances). In other words, where there is a
 4
 5      disparity between the minority population and the number of minority
 6
 7      opportunity districts, that imbalance is probative evidence of a Section 2
 8
 9      violation.3 See Osceola Cnty., 474 F. Supp. 2d at 1256 (rejecting defendants’
10
11      proposed remedy where the plaintiff’s plan would provide Latinos “a
12
13      reasonable opportunity to elect one out of five members of the Board (20%)”
14
15      but “that opportunity is diluted” in the County’s plan “to one out of seven
16
17      (14%)”); see also id. (discussing evidence that with a board of seven members,
18
19      the Hispanic community should have an opportunity to elect two board
20
21      members (28%)).
22
23              Defendants’ proposal fails the proportionality analysis. Under
24
25      Defendants’ plan, Latinos would have a reasonable opportunity at just one seat
26
27      out of seven (14.29%). By contrast, Plaintiffs’ Illustrative Plan 1 creates two
28
29      districts in which Latinos comprise effective voter majorities, giving Latino
30
31      voters an opportunity to elect their candidates of choice in two out of seven
32
33      seats (28.57%). Where the most recent available data indicates that Latinos
34
35      comprise 26.54% of the citizen voting age population and 37.67% of the total
36
37
38
39
40
41
42
        3
43          The Supreme Court has left open whether the appropriate measure of
44
45      proportionality in this sense is the minority group’s total population or eligible
46
47      voter population. Johnson, 512 U.S. at 1017 n.14, 1021 n.18.

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     Case 2:12-cv-03108-TOR      ECF No. 117   filed 10/03/14   PageID.2971 Page 19 of 26




 1      citizen population, Khanna Decl., Ex. 3 ¶ 3, Defendants’ remedial plan fails to
 2
 3      effectively capture the voting strength of this minority group.4
 4
 5               Defendants are no strangers to the merits of having a second Latino
 6
 7      opportunity district. In a recent public statement, they referred to their
 8
 9      proposed District 5 as an “influence district” that “could potentially grow to be
10
11      Latino majority as well over time.” See Mike Faulk, Yakima, ACLU voting
12
13      district plans remain far apart, Yakima Herald Republic, Oct. 1, 2014,
14
15      available at http://www.yakimaherald.com/home/2540870-8/yakima-aclu-
16
17      voting-district-plans-remain-far-apart. Defendants’ recognition of the benefits
18
19      of allowing multiple Latino opportunity districts only underscores the flaws in
20
21      their own plan. Rather than providing Latinos that opportunity now,
22
23      commensurate with the current size of the Latino population and the Section 2
24
25      violation that community has long endured, Defendants ask Latinos to wait
26
27      several more years for full and fair participation in the political process. This
28
29      wait-and-see approach is entirely unnecessary—and violates Section 2—where
30
31
32
33
34
        4
35          In fact, in another case in which the defendants had proposed a 5-2 voting
36
37      plan, Defendants’ expert Dr. Alford attested that “[t]he most obvious way that
38
39      Plaintiffs could demonstrate that a seven single member district plan might be
40
41      superior for Hispanic representation to the five single member district plan,
42
43      would be to show that the seven member plan would offer an increase in the
44
45      number of districts expected to elect Hispanic candidates of choice.” Khanna
46
47      Decl., Ex. 4 at 8. Here, Plaintiffs have demonstrated just that.

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 1      Latinos can have the opportunity to elect their candidates of choice in two of
 2
 3      out seven districts today.5
 4
 5      B.      The Court Should Adopt Plaintiffs’ Illustrative Plan 1.
 6
 7              For all of the foregoing reasons, the Court should reject Defendants’
 8
 9      proposed remedial plan and adopt its own. In so doing, the Court is governed
10
11      by the “longstanding general rule that single-member districts are to be used in
12
13      judicially crafted redistricting plans.” Citizens for Good Gov’t v. City of
14
15      Quitman, Miss., 148 F.3d 472, 476 (5th Cir. 1998) (citing Connor v. Finch, 431
16
17      U.S. 407, 415 (1977)); see also Wise, 437 U.S. at 540 (“[A] court-drawn plan
18
19      should prefer single-member districts over multimember districts, absent
20
21      persuasive justification to the contrary.”). This requirement reflects
22
23      recognition that “the practice of multimember districting can contribute to
24
25      voter confusion, make legislative representatives more remote from their
26
27      constituents, and tend to submerge electoral minorities and overrepresent
28
29      electoral majorities.” Connor, 431 U.S. at 415. Accordingly, unless the Court
30
31      can articulate a “singular combination of unique factors” that justifies
32
33      abandonment of this clear preference, Mahan v. Howell, 410 U.S. 315, 333
34
35      (1973), the Court must impose single-member districts. See also Corder v.
36
37      Kirksey, 639 F.2d 1191, 1195 (5th Cir. 1981) (“[T]he unique or special
38
39
40
        5
41          To the extent Defendants contend that their proposed District 5 might reach
42
43      majority-minority status by 2020 or later, they ignore that the City is required
44
45      to change district lines upon each decennial census, pushing the mirage of
46
47      minority voting opportunity further into the future.

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     Case 2:12-cv-03108-TOR      ECF No. 117   filed 10/03/14   PageID.2973 Page 21 of 26




 1      circumstances allowing for a court-fashioned election scheme incorporating an
 2
 3      at-large element [are] circumstances encompassing the rare, the exceptional,
 4
 5      not the usual and diurnal.”) (internal quotation marks and citation omitted).
 6
 7              Plaintiffs’ Illustrative Plan 1 provides a full and complete remedy to the
 8
 9      City of Yakima’s Section 2 violation. First, it encompasses seven single-
10
11      member districts, in accordance with the rules governing judicial districting
12
13      plans. Second, as noted above, Illustrative Plan 1 provides not one, but two
14
15      Latino opportunity districts, consistent with Latinos’ share of the voting
16
17      population and Supreme Court precedent. Third, the Court has already
18
19      indicated that Illustrative Plan 1 meets the “compactness” requirement of
20
21      Gingles 1, Op. at 21-23, which incorporates consideration of traditional
22
23      districting principles, id. at 27; see also ECF No. 64 at 17-18. Indeed,
24
25      Plaintiffs first provided Illustrative Plan 1 and its underlying data to
26
27      Defendants in February 2013, see ECF No. 66-1 at 123-24, and Defendants
28
29      have offered no practical objection on the record, even though they understood
30
31      that plan would likely be offered as a remedy, see ECF Nos. 67 at 7, 85 at 11.
32
33              Accordingly, Plaintiffs submit that the Court should adopt Illustrative
34
35      Plan 1 as the Court-ordered remedy for the Yakima’s Section 2 violation.6
36
37
38
        6
39          Courts frequently adopt plaintiffs’ proposed plans as their own as remedies
40
41      for Section 2 violations. See, e.g., Large, 670 F.3d at 1136, 1148 (affirming
42
43      district court’s “reject[ion] [of] the Board’s proposal in favor of a plan with
44
45      five single-member districts, as initially proposed by the Appellees”); Harvell,
46
47      126 F.3d at 1042 (affirming district court’s adoption of plaintiffs’ plan); Dallas

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     Case 2:12-cv-03108-TOR     ECF No. 117     filed 10/03/14   PageID.2974 Page 22 of 26




 1      C.      The Court Should Immediately Implement the Remedial Map.
 2
 3              Finally, Plaintiffs respectfully submit that the Court should implement
 4
 5      the remedial map in advance of the upcoming 2015 City Council election.
 6
 7      Specifically, the Court should order that all seven City Council positions will
 8
 9      appear on the 2015 ballot. An effective remedy requires prompt
10
11      implementation. See Desena v. Maine, 793 F. Supp. 2d 456, 462 (D. Me. 2011)
12
13      (“Constitutional violations, once apparent, should not be permitted to fester;
14
15      they should be cured at the earliest practicable date.”). In fact, it is not
16
17      uncommon for courts to order immediate special elections to ensure
18
19      compliance with Section 2 upon finding a violation. See Neal v. Harris, 837
20
21      F.2d 632, 634 (4th Cir. 1987) (“The special election . . . is not a distinct remedy.
22
23      It is merely a vehicle for the immediate implementation of the remedy provided
24
25      in the court’s decree.”); Clark v. Roemer, 777 F. Supp. 471, 484 (M.D. La.
26
27      1991) (“‘[T]his Court and other District Courts have found that where a
28
29      governing body has been elected under . . . an election scheme such as at-large
30
31      elections, cancelling out the voting strength of a cognizable portion of the
32
33      populace, thus denying them access to the political process, prompt new
34
35
36
37      Cnty. Comm’n, 850 F.2d at 1443 (directing district court to adopt plaintiffs’
38
39      plan); Osceola Cnty., 474 F. Supp. 2d at 1256 (approving “United States’
40
41      Proposed Remedial Plan 2”); Dillard, 649 F. Supp. at 298 (requiring
42
43      implementation of plaintiffs’ plan); see also LULAC, 648 F. Supp. at 598
44
45      (adopting two minority districts as drawn by plaintiffs and allowing defendants
46
47      “to draw the remaining single-member district lines”).

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     Case 2:12-cv-03108-TOR     ECF No. 117     filed 10/03/14   PageID.2975 Page 23 of 26




 1      elections are appropriate.’”) (quoting Wallace v. House, 377 F. Supp. 1192,
 2
 3      1201 (W.D. La. 1974)).
 4
 5              As the Court found, Latinos did not have an equal opportunity to elect
 6
 7      the current councilmembers elected under the existing system (almost all of
 8
 9      whom have been on the City Council more than five years). A lengthy process
10
11      of implementing single-member districts will perpetuate that unlawful system.
12
13      And if all council seats are not up for election in 2015, Yakima voters will be
14
15      confronted with a hodgepodge of a transitional system that will likely confuse
16
17      voters and require some voters to wait years to elect a councilmember from
18
19      their particular geographic district.
20
21              The City currently uses “staggered terms” for City Council positions. If
22
23      Plaintiffs’ Illustrative Plan 1 is implemented, Plaintiffs have no objections to
24
25      the City continuing this electoral practice. Preservation of the staggered term
26
27      system is simple to accomplish, and how to do so is delineated by state law.
28
29      For cities using a council-manager form of government, such as Yakima, City
30
31      Council positions are elected for four-year terms “[e]xcept for the initial
32
33      staggering of terms.” RCW 35.18.020(2). That is, the first election run under
34
35      a new voting system can utilize less than four-year terms to accomplish the
36
37      staggering of terms.
38
39              Here, Plaintiffs propose that the Court would accomplish “the initial
40
41      staggering of terms” by ordering that all City Council positions be up for
42
43      election in 2015. Four positions would be elected to a four-year term of office.
44
45      Three positions would be elected to a two-year term of office, and would be up
46
47      for reelection in 2017, this time for a four-year term. For the sake of

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     Case 2:12-cv-03108-TOR       ECF No. 117    filed 10/03/14   PageID.2976 Page 24 of 26




 1      administrative ease, Plaintiffs’ proposed injunction would have odd-numbered
 2
 3      and even-numbered positions designated for an initial four-year and two-year
 4
 5      term, respectively.7 This is consistent with the initial staggering of terms that
 6
 7      is mandated by state law when a reorganization is adopted pursuant to statutory
 8
 9      processes. See RCW 35A.02.050.
10
11                                     IV.    CONCLUSION
12
13               For all of the foregoing reasons, Plaintiffs respectfully request that the
14
15      Court reject Defendants’ proposed remedy and adopt Plaintiffs’ proposed
16
17      remedial plan and injunction.
18
19      DATED: October 3, 2014               s/ Kevin J. Hamilton
20
21
                                             Kevin J. Hamilton, WSBA No. 15648
22                                           Abha Khanna, WSBA No. 42612
23                                           William B. Stafford, WSBA No. 39849
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31
32
        7
33          Other ways of accomplishing the initial staggering of terms are possible, such
34
35      as giving primary consideration to the residences or current terms of sitting
36
37      councilmembers, or the geographic dispersion of seats. Plaintiffs believe that a
38
39      neutral odds/evens method of staggering seats is sensible and easy to
40
41      administer, but are open to alternatives, including a renumbering of districts in
42
43      Illustrative Plan 1. Because the parties disagreed as to the fundamental issue of
44
45      whether all seats should be up for a vote in 2015, they were not able to reach
46
47      the ancillary issue of how to accomplish an initial staggering of terms.

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                                                                         Perkins Coie LLP
        MOTION FOR ENTRY OF PLS.’                                  1201 Third Avenue, Suite 4900
        PROPOSED REMEDIAL PLAN AND                                   Seattle, WA 98101-3099
        INJUNCTION – 20                                                Phone: 206.359.8000
        LEGAL123638726.3                                                Fax: 206.359.9000
     Case 2:12-cv-03108-TOR      ECF No. 117    filed 10/03/14   PageID.2978 Page 26 of 26




 1                               CERTIFICATE OF SERVICE
 2
 3
 4              I certify that on October 3, 2014, I electronically filed the foregoing
 5
 6
 7      Motion for Entry of Plaintiffs’ Proposed Remedial Plan and Final Injunction
 8
 9
10
        with the Clerk of the Court using the CM/ECF system, which will send
11
12      notification of such filing to the following attorney(s) of record:
13
14
15      Francis S. Floyd WSBA 10642             Counsel for            VIA CM/ECF
16      John Safarli WSBA 44056                 Defendants           SYSTEM
17
18
        Floyd, Pflueger & Ringer, P.S.                                 VIA FACSIMILE
19      200 W. Thomas Street, Suite 500                                VIA MESSENGER
20      Seattle, WA 98119                                              VIA U.S. MAIL
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22
        (206) 441-4455                                                 VIA EMAIL
23      ffloyd@floyd-ringer.com
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25
26
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28
            I certify under penalty of perjury that the foregoing is true and correct.
29      DATED:
30
31
32      October 3, 2014                           PERKINS COIE LLP
33
34
35                                                s/Abha Khanna
36                                                Abha Khanna, WSBA No. 42612
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